    Case 10-93904-BHL-11         Doc 1038 Filed 02/17/12 EOD 02/17/12 10:19:20    Pg 1 of 1
                                 SO ORDERED: February 17, 2012.




                                  ______________________________
                                  Basil H. Lorch III
                                  United States Bankruptcy Judge

                             UNITED STATES BANKRUPTCY COURT                 SGENERIC (rev 11/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                           Case Number:
       SSN: NA               EIN: NA                     10−93904−BHL−11
    Debtor(s)                                            JOINTLY ADMINISTERED

                                             ORDER

   A(n) Motion to Appear Pro Hac Vice was filed with the Clerk of Court on February 15, 2012,
by Eric W. Richardson.

   IT IS THEREFORE ORDERED that the Motion to Appear Pro Hac Vice is GRANTED.
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